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                                        EXHIBIT A

                                        Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            ) Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a ) Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             ) Jointly Administered
                                  )
                    Debtors.      ) Re: Docket Nos. 1467 & ___
                                  )

      ORDER APPROVING TWENTY-FIRST OMNIBUS MOTION OF THE DEBTORS
            FOR ENTRY OF AN ORDER AUTHORIZING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

            Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

  debtors in possession (the “Debtors”) for the entry of an order (this “Twenty-First Omnibus

  Rejection Order”) pursuant to section 365(a) of the Bankruptcy Code, authorizing the Debtors

  to reject certain executory contracts and unexpired leases listed on Exhibit 1 attached hereto (the

  “Contracts”), effective as of March 12, 2020; and the Court having jurisdiction to consider the

  Motion and the relief requested therein; and due and sufficient notice of the Motion having been

  given; and it appearing that the relief requested by the Motion is in the best interest of the

  Debtors’ estates, creditors and other parties in interest; and the Court having reviewed the




  1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
            number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
            Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
            PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
            Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
            Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
            (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
            216 North Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.
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            Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the
            Motion.



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Motion and considered the arguments made at the hearing, if any; and after due deliberation and

sufficient cause appearing therefor;

             IT IS HEREBY ORDERED THAT:

             1.         The Motion is GRANTED as set forth herein.

             2.         The Contracts set forth on Exhibit 1 attached hereto are hereby rejected, effective

as of March 12, 2020, to the extent such Contracts are executory contracts or unexpired leases.

             3.         This Order shall not be deemed to be a determination of whether any of the

Contracts are executory contracts or unexpired leases.

             4.         To the extent that a counterparty to a Contract chooses to file a proof of claim

relating to rejection damages, such proof of claim must be filed with the Court on or before the

later of (i) thirty (30) calendar days after service of this Order and (ii) the general deadline to file

claims in these Chapter 11 Cases, as determined by the Court by separate order.

             5.         The Debtors’ rights with respect to any existing defaults of the counterparties to

the Contracts, and all defenses and counterclaims to any rejection damages claims, are hereby

preserved.

             6.         This Court shall retain jurisdiction over any and all matters arising from the

interpretation or implementation of this Order.




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                                       Exhibit 1


                                   Rejected Contracts


                                     (see attached)




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Contract Party                            Title of Agreement                                 Debtor Party

Hypertension-Nephrology
Associates, PC d/b/a Quality           Agreement for Ambulatory
Vascular Services                          Clinical Rotations                         Center City Healthcare, LLC
                                    Software License & Maintenance
iContracts, Inc.                               Agreement                          Hahnemann University Hospital
IMA Consulting                            Engagement Letter                       Hahnemann University Hospital
                                        Shadow Billing Revenue
                                     Recovery Safety-net Services
IMA Consulting                           Letter of Arrangement                    Hahnemann University Hospital
Immaculatta University                   Affiliation Agreement                     Center City Healthcare, LLC

IMPAC Medical Systems, Inc.         Purchase and License Agreement                Hahnemann University Hospital
Independence University                  Affiliation Agreement                     Center City Healthcare, LLC
Informa Software                          Services Agreement                       Center City Healthcare, LLC
                                      Agreement for Ambulatory
Institute for Dermapathology               Clinical Rotations                       Center City Healthcare, LLC
Integra Life Sciences Sales LLC       Trial Evaluation Agreement                    Center City Healthcare, LLC
Intralinks, Inc.                      Master Services Agreement              Philadelphia Academic Health System, LLC
Intralinks, Inc.                              Work Order                     Philadelphia Academic Health System, LLC
Intuitive Surgical, Inc.              Service Renewal Addendum                     Hahnemann University Hospital
Iodine Software, LLC                       Letter Agreement                         Center City Healthcare, LLC
Jay M. Yanoff, EdD                   Consulting Services Agreement           Philadelphia Academic Health System, LLC

JDR Consulting, LLC                      Services Agreement                           Center City Healthcare, LLC
John Calvitti Company                    Services Agreement                           Center City Healthcare, LLC

John Dowdle                         Consulting Services Agreement            Philadelphia Academic Health System, LLC
JohnGSelf Partners, Inc.                 Engagement Letter                          Center City Healthcare, LLC


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Contract Party                              Title of Agreement                                   Debtor Party

JP Zimmerman PCS LLC                      Consulting Agreement                   Philadelphia Academic Health System, LLC
K&C Strategic Policy Group,
LLC d/b/a DeBrunner &
Associates                                  Engagement Letter                    Philadelphia Academic Health System, LLC
Karl Storz Endoscopy-America,
Inc.                                  Protection 1 Services Agreement                 Hahnemann University Hospital
Kasscon Building Services, LLC              Services Agreement                              TPS of PA, LLC
Keystone Quality Transport                          Lease                              Center City Healthcare, LLC
Lake Erie College                          Affiliation Agreement                       Center City Healthcare, LLC
Language Services Associates,
Inc.                                        Services Agreement                            Center City Healthcare, LLC
LaSalle University                         Affiliation Agreement                          Center City Healthcare, LLC
LaSalle University                         Affiliation Agreement                          Center City Healthcare, LLC
Legal Clinic for the Disabled, Inc.         Services Agreement                            Center City Healthcare, LLC
Lenoir Community College                   Affiliation Agreement                          Center City Healthcare, LLC

LifeLine Software, Inc.                     Services Agreement                            Center City Healthcare, LLC
Lincoln Memorial University,
DeBusk College of Osteopathic
Medicine                                  Affiliation Agreement                           Center City Healthcare, LLC
Lincoln Technical Institute               Affiliation Agreement                           Center City Healthcare, LLC
Lions Eye Bank of Delaware            Donor Institution Memorandum
Valley                                        of Agreement                             Hahnemann University Hospital
Litchfield Cavo LLP                        Engagement Letter                     Philadelphia Academic Health System, LLC
Logan Consultants                         Affiliation Agreement                         Center City Healthcare, LLC
Loyola University Maryland, Inc.          Affiliation Agreement                         Center City Healthcare, LLC
Lumedx Corporation                         License Agreement                           Hahnemann University Hospital
Magee Rehabilitation Center                Transfer Agreement                           Center City Healthcare, LLC
Maggiano's Little Italy                 Banquet Function Contract                             TPS of PA, LLC

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Contract Party                            Title of Agreement                                   Debtor Party

                                       Agreement for Ambulatory
Main Line Fertility Center, Inc.           Clinical Rotations                           Center City Healthcare, LLC
Major Medical Hospital Services,
Inc.                                     Services Agreement                             Center City Healthcare, LLC
Maryville University of St. Louis       Affiliation Agreement                           Center City Healthcare, LLC
MCG Health, LLC                        Master License Agreement                         Center City Healthcare, LLC
MCP/HU - Masters of Medical
Sciences                                 Affiliation Agreement                          Center City Healthcare, LLC
MDS Carpeting and Flooring,
Inc.                                      Services Agreement                            Center City Healthcare, LLC
Medical Staffing Solutions, Inc.
d/b/a STAT RESOURCES                  Staffing Services Agreement                       Center City Healthcare, LLC
Medsentrix, LLC                           Services Agreement                                 TPS of PA, LLC
Med-Tex Services, Inc.                    Services Agreement                            Center City Healthcare, LLC

Mercy Catholic Medical Center       Agreement for Clinical Rotations                    Center City Healthcare, LLC
                                      Agreement for Purchase of
Meridian Bioscience Corporation           Meridian Products                             Center City Healthcare, LLC
Metropolitan Anesthesia             Anesthesia Provider Procurement
Services, Inc.                                Agreement                                 Center City Healthcare, LLC
Metropolitan Nephrology
Associates                                Transfer Agreement                            Center City Healthcare, LLC
Miami University                         Affiliation Agreement                          Center City Healthcare, LLC
Michigan State University
College of Osteopathic Medicine          Affiliation Agreement                          Center City Healthcare, LLC
Midwestern University                    Affiliation Agreement                          Center City Healthcare, LLC

                                    Engagement Letter for Evaluation
Mindfigure Consulting                of Clinical Research Activities           Philadelphia Academic Health System, LLC

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Contract Party                           Title of Agreement                                   Debtor Party

MJR Technologies, Inc. d/b/a GT
Telecom                                 Services Agreement                           Center City Healthcare, LLC
Muzak LLC d/b/a Mood Media              Service Agreement                           Hahnemann University Hospital
Nancy West Communications               Services Agreement                           Center City Healthcare, LLC
Nathan Freedman                    Consulting Services Agreement              Philadelphia Academic Health System, LLC
Nazareth Hospital                      Affiliation Agreement                         Center City Healthcare, LLC
Neff and Associates, Inc.             Consulting Agreement                    Philadelphia Academic Health System, LLC

Neopost Inc.                       USPS Postage Meter Agreement                    Hahnemann University Hospital
Nestle Waters North America Inc.    Sales and Service Agreement                     Center City Healthcare, LLC
Neuro-Ophthalmologic                 Agreement for Ambulatory
Associates                                Clinical Rotations                           Center City Healthcare, LLC
Neurosurgical Anesthesia
Consulting                         Professional Services Agreement                         TPS II of PA, LLC

New York Blood Center, Inc.        Health Care Provider Agreement             Philadelphia Academic Health System, LLC
New York College of Podiatric
Medicine                                Affiliation Agreement                          Center City Healthcare, LLC

Nexcore Properties PA LLC          Project Management Agreement               Philadelphia Academic Health System, LLC
                                     Agreement for Ambulatory
NHS Philadelphia                          Clinical Rotations                           Center City Healthcare, LLC
Nixon Uniform Service, Inc.         Customer Service Agreement                             TPS III of PA, LLC
North Philadelphia Health System
(Girard Medical Center)                  Transfer Agreement                            Center City Healthcare, LLC

nThrive, Inc.                            Services Agreement                            Center City Healthcare, LLC
Nuclear Medicine Resources, Inc.         Services Agreement                            Center City Healthcare, LLC


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Contract Party                             Title of Agreement                                 Debtor Party

Occupational Health Centers of
the Southwest, P.A. d/b/a
Concentra Medical Centers                 Services Agreement                           Center City Healthcare, LLC
Ohio University Heritage College
of Osteopathic Medicine                   Affiliation Agreement                        Center City Healthcare, LLC
                                      Software License and Services
Omnicell, Inc.                                  Agreement                          Hahnemann University Hospital

Omnigo Software                           Terms and Conditions                     Hahnemann University Hospital
                                        Standard Services Product
Optum360 Solutions, LLC                         Schedule                      Philadelphia Academic Health System, LLC
Oregon Health & Science
University                           Program Membership Agreement                      Center City Healthcare, LLC
Pacific Northwest University of
Health Sciences, College of
Osteopathic Medicine                      Affiliation Agreement                        Center City Healthcare, LLC
Pain Care Professionals                            Lease                               Center City Healthcare, LLC
                                       Agreement for Ambulatory
Pain Care Professionals, Inc.               Clinical Rotations                         Center City Healthcare, LLC
                                       Agreement for Ambulatory
Pain Care, PC                               Clinical Rotations                         Center City Healthcare, LLC
                                      Software License and Services
Pandora Data Systems, Inc.                      Agreement                          Hahnemann University Hospital
Paradigm Mechanical, LLC                   Services Agreement                       Center City Healthcare, LLC
Park America, Inc.                     Parking License Agreement                   Hahnemann University Hospital
Parkway Corporation                                Lease                            Center City Healthcare, LLC
Pathways Philadelphia                     Affiliation Agreement                     Center City Healthcare, LLC
Patino Landscaping Group, LLC              Services Agreement                       Center City Healthcare, LLC
Paul Rabinowitz Glass Co., Inc.            Services Agreement                       Center City Healthcare, LLC

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Contract Party                             Title of Agreement                                    Debtor Party

PayTech, Inc.                          Master Services Agreement                 Philadelphia Academic Health System, LLC
Pelvic and Sexual Health Institute
d/b/a Philadelphia Urosurgical          Agreement for Ambulatory
Associates                                  Clinical Rotations                          Center City Healthcare, LLC
Pennoni Associates                       Consulting Agreement                    Philadelphia Academic Health System, LLC
Pennsylvania Department of
Health, Chronic Renal Disease
Program                              Participating Provider Agreement                    Hahnemann University Hospital




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